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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


      ARMSTRONG, et al.,                               Civil Action No.
                   Plaintiffs,                         2:12-CV-3319-SDW-SCM
      v.
                                                       SUPPLEMENTAL
      ANDOVER SUBACUTE AND REHAB                       SCHEDULING ORDER
      CENTER SERVICES ONE, INC. et al.,
              Defendants.

           IT IS on this Wednesday, August 14, 2019 ordered that the Scheduling Order is

    hereby supplemented as follows:

    1. The parties have a continuing obligation to supplement and amend their initial
       disclosures. The names and subject of expected testimony of all affirmative expert
       witnesses shall be delivered no later than 30 days before the end of fact discovery.
       The names and subject of expected testimony of all responding expert witnesses shall
       be delivered no later than 10 days after the date due for the affirmative expert
       report(s), provided such report(s) have been served.

           a. All affirmative expert reports shall be delivered by 9/16/2019.

           b. All responding expert reports shall be delivered by 10/18/2019.

           c. Deposition of expert(s) to be completed within 30 days of receiving their
              respective reports.

    2. A status conference to be held on 10/28/2019 at 3:30 PM before Judge Steve
       Mannion in courtroom 2B. Lead trial counsel must appear and clients who have
       settlement authority shall be immediately available by telephone.

    3. FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY
       SUBSEQUENT SCHEDULING ORDERS ENTERED BY THIS COURT MAY
       RESULT IN SANCTIONS. See Fed.R.Civ.P. 16(f) and 37.




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    Original: Clerk of the Court
    Hon. Susan D. Wigenton, U.S.D.J.
    cc: All parties
        File
